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pn_zo BQ,_,,,_ o.c.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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M. GOULD
clara 03 33 _*,_,r mm
metMJ£MHS
UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 05-20135-D

CONRAD R. MCEACHERN
Defendant.

`_,~._¢\..,~._¢`,,-._,_._¢~.._,~..,v

 

oRDER oN cHANGE or PLEA
AND SETTING

 

This cause came to be heard on August 25, 2005, the United States
Attorney for this district, Dan Newsom, appearing for the Government and the
defendant, Conrad R. McEachern, appearing in person and with counsel, J.
Patten Brown, III, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts 1, 2, and 3 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for FRIDAY, NOVEMBER lB, 2005, at
1:00 P.M., in Courtroam Nb. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the ay of August, 2005.

  
 
 

UN TED STATE= DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20135 Was distributed by faX, mail, or direct printing on
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J Patten Brown

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Honorable Bernice Donald
US DISTRICT COURT

